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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

  UNITED STATES OF AMERICA,
                                                      Case No. 1:24-cv-00448-HAB-SLC
                 Plaintiff,

            v.
                                                      CONSENT DECREE

  VERNON D. MILLER, individually and
  d/b/a Dutch Creek Farm Animal Park,

                 Defendant.



        This Consent Decree is entered into by and between Plaintiff, the United States of

 America (“United States”), and Defendant, Vernon D. Miller, individually and doing business as

 Dutch Creek Farm Animal Park (“Miller”) (collectively, the “Parties”), who state as follows:

        WHEREAS, Miller held a class “C” license, number 32-C-0224, issued by the United

 States Department of Agriculture (“USDA”) to exhibit and deal in animals as defined in the

 Animal Welfare Act (“AWA” or “the Act”), 7 U.S.C. § 2131 et seq.;

        WHEREAS, Miller owns and operates a facility called the Dutch Creek Farm Animal

 Park located at 6255 North 1000 West, Shipshewana, Indiana 46565, in LaGrange County

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 (“Facility”);

        WHEREAS, on October 9, 2024, USDA served Miller with an Official Notice of 21 Day

 Suspension of License 32-C-0224 (“License Suspension”). The License Suspension suspended

 Miller’s class “C” license for 21 days, expiring on October 30, 2024. During the period of a

 suspension, “[i]t is a violation of the Regulations [of the AWA] to buy, sell, transport, exhibit, or

 deliver for transportation, any ‘animal’ as the term is defined in the Act and the Regulations”;

        WHEREAS, on October 23, 2024, the United States filed a complaint against Miller,

 alleging violations of the AWA and its implementing regulations and standards and seeking

 preliminary and permanent injunctive relief, ECF No. 1 (“Complaint”);

        WHEREAS, the Complaint alleged pursuant to 7 U.S.C. § 2159 that Miller had placed

 and, at the time of the Complaint, was placing the health of animals at his Facility in serious

 danger in violation of the AWA and its regulations and standards. The Complaint also alleged

 pursuant to 7 U.S.C. § 2146(c) that Miller had violated the AWA and its regulations and

 standards in the following ways: (1) Miller failed to provide adequate veterinary care; (2) Miller

 failed to provide sanitary housing, food, and water conditions; (3) Miller failed to provide safe

 and hospitable housing and living conditions; (4) Miller exposed animals to psychologically

 distressing conditions; and (5) Miller failed to create and maintain complete and accurate

 records;

        WHEREAS, also on October 23, 2024, the United States filed a Motion for Temporary

 Restraining Order (“TRO”) and Preliminary Injunction asking the Court to order Miller to—

 among other things—not exhibit, breed, acquire (by purchase or transfer) or dispose of (by

 euthanasia, sale, or transfer) any AWA-regulated animal at the Facility without the consent of the

 United States or an order from the Court, ECF Nos. 2-3;



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        WHEREAS, on October 28, 2024, the Court granted the United States’ Motion for TRO

 and set a briefing schedule for the Motion for Preliminary Injunction, ECF No. 8;

        WHEREAS, on October 30, 2024, USDA filed an administrative complaint before the

 Secretary of Agriculture alleging that Miller violated the AWA and its regulations and standards,

 AWA Docket No. 25-J-0015;

        WHEREAS, the Parties moved to extend the briefing schedule on the Motion for

 Preliminary Injunction and the effective date of the TRO, ECF No. 14, which the Court granted

 on November 1, 2024, ECF No. 15, keeping the TRO in effect until December 2, 2024;

        WHEREAS, on November 13, 2024, Miller filed a Response to the United States’

 Motion for TRO and Motion for Preliminary Injunction, ECF No. 22;

        WHEREAS, on November 29, 2024, Miller filed an Answer to the United States’

 Complaint, ECF No. 34;

        WHEREAS, the TRO expired on December 2, 2024;

        WHEREAS, on December 10, 2024, Miller filed an Answer and Defenses to the USDA’s

 administrative complaint in AWA Docket No. 25-J-0015;

        WHEREAS, on January 24, 2025, Miller entered into a Consent Decision with USDA to

 resolve its administrative complaint;

        WHEREAS, the administrative Consent Decision terminated Miller’s class “C” license,

 number 32-C-0224, effective January 24, 2025;

        WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

 that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

 between the Parties and that this Consent Decree is fair, reasonable, and in the public interest.

        NOW, THEREFORE, with the consent of the Parties, IT IS HEREBY ADJUDGED,



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 ORDERED, AND DECREED as follows:

         1.      This Court has jurisdiction over the subject matter of this action, pursuant to 28

 U.S.C. §§ 1331 and 1345 and 7 U.S.C. § 2146(c) (actions arising under the AWA), and over the

 Parties. Venue lies in the Northern District of Indiana and the Fort Wayne Division pursuant to

 28 U.S.C. § 1391, 7 U.S.C. § 2159(a), and N.D. Indiana Local Rule 3-1(a) because the

 Defendant, Miller, resides and does business in this district and division and a substantial part of

 the events or omissions giving rise to the claims occurred in this district and division. For

 purposes of this Consent Decree, or any action to enforce this Consent Decree, Miller consents to

 the Court’s jurisdiction over him, this Consent Decree, and any such action to enforce it, and to

 venue in this judicial district and division.

         2.      The obligations of this Consent Decree apply to and are binding on the United

 States and on Miller and any of his agents, employees, successors, assigns, or other entities or

 persons otherwise bound by law, directly or through any corporate or other device.

         3.      No transfer of ownership or operation of Dutch Creek Farm Animal Park shall

 relieve Miller of his obligation to ensure that the terms of this Consent Decree are implemented.

         4.      Miller shall provide a copy of this Consent Decree to all employees, officers, or

 agents whose duties might reasonably include compliance with any provision of this Consent

 Decree. In any action to enforce this Consent Decree, Miller shall not raise as a defense the

 failure to provide a copy of this Consent Decree to any employee, officer, or agent or the failure

 of any of the employees, officers, or agents to take any actions necessary to comply with the

 provisions of this Consent Decree.

         5.      Miller will not apply for any USDA license or registration for at least two years

 following the termination of his license. On or after January 24, 2027, Miller may apply for a



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 USDA license or registration.

        6.        During any time that Miller does not hold a valid and effective USDA license or

 registration, Miller will refrain from any activity that would require a USDA license or

 registration, including buying, selling, transporting, exhibiting, or delivering for transportation,

 any AWA-regulated animal, under any circumstances, whether on his behalf or on the behalf of

 another individual or entity, and will ensure that his agents, employees, or others acting at his

 direction or for his benefit refrain from any activity that would require a USDA license or

 registration on his behalf or on behalf of Dutch Creek Farm Animal Park. Nothing in this

 agreement prohibits Miller from buying or owning personal pets; buying, selling, or owning

 animals used and intended for use solely for agricultural purposes; or engaging in breeding,

 dealing, or exhibition that does not require a license pursuant to 9 C.F.R. § 2.1(a)(3) or the latest

 version of the Animal and Plant Health Inspection Service document entitled “Licensing and

 Registration Under the Animal Welfare Act: Guidelines for Dealers, Exhibitors, Transporters,

 and Researchers” (current version attached and incorporated into this Consent Decree as

 Appendix A).

        7.        At any time that Miller does not hold a valid and effective USDA license or

 registration, he consents to USDA inspectors or officers accessing the Facility at any time and in

 any manner that members of the general public are invited onto the property, in order to monitor

 for compliance with the AWA and this agreement. Additionally, during any time that Miller

 does not hold a USDA license or registration, he will:

             a.   maintain records of the acquisition and disposition of any dogs and wild or exotic




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                animals, 1 and

             b. produce copies of such acquisition and disposition records to the United States in

                the manner described in Paragraph 10 or provide access for USDA officials to

                physically review such records by April 1, 2025 and every three months

                thereafter.

        8.      If Miller applies for a new USDA license or registration during the effective

 period of this Consent Decree, Miller shall notify counsel for the United States in writing within

 seven days of submitting such application.

        9.      If Miller applies for and obtains a new USDA license or registration, during any

 time that he holds such license or registration, he shall:

             a. Create and maintain accurate and complete records for all AWA-regulated

                animals owned, held, leased, or otherwise in his possession or under his control or

                purchased, acquired through birth or any other means, transported, sold,

                euthanized or disposed of as required by 9 C.F.R. § 2.75. Such records must be

                maintained while the animals are owned, held, leased, or otherwise possessed or

                controlled by Miller and for one year following any animal’s death, euthanasia, or

                other disposal, in accordance with 9 C.F.R. § 2.80;

             b. Comply with 9 C.F.R. § 2.40 by ensuring that all AWA-regulated animals present


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   Pursuant to 9 C.F.R. § 1.1, “[w]ild animal means any animal which is now or historically has
 been found in the wild, or in the wild state, within the boundaries of the United States, its
 territories, or possessions. This term includes, but is not limited to, animals such as: Deer, skunk,
 opossum, raccoon, mink, armadillo, coyote, squirrel, fox, wolf.” “Exotic animal” means any
 animal not identified by name in the definition of “animal” in 9 C.F.R. § 1.1 and “that is native to
 a foreign country or of foreign origin or character, is not native to the United States, or was
 introduced from abroad. This term specifically includes animals such as, but not limited to, lions,
 tigers, leopards, elephants, camels, antelope, anteaters, kangaroos, and water buffalo, and species
 of foreign domestic cattle, such as Ankole, Gayal, and Yak.” 9 C.F.R. § 1.1.

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            at the facility are provided with adequate veterinary care, including daily

            observations to assess their health and well-being; timely and accurate

            communication of any problems of animal health, behavior, or well-being to the

            attending veterinarian; and the use of appropriate methods to prevent, control,

            diagnose, and treat diseases and injuries;

         c. Ensure that all dogs at the Facility are provided with adequate veterinary care

            including the provision of all required vaccinations, sampling and treatment of

            parasites and pests, annual physical examinations, and preventative care to ensure

            healthy and unmatted hair coats, properly trimmed nails, and clean and healthy

            eyes, ears, skin, and teeth, pursuant to 9 C.F.R. § 3.13(a);

         d. Maintain complete and legible written veterinary records for any AWA-regulated

            animal assessed or provided treatment;

         e. Ensure that all AWA-regulated animals are held in facilities or enclosures that are

            in good repair, provide appropriate shelter, are large enough to meet the

            regulatory requirements and allow for normal social and postural adjustments, and

            prevent animal escapes in accordance with 9 C.F.R. §§ 3.52(b), 3.53(a)(1),

            3.6(a)(2), 3.78(b) & (c), 3.80(b)(1), 3.125(a), 3.126(d), 3.127(b), (c), & (d), 3.128,

            3.153(a) & (b), and 3.158(c), and ensure that all AWA-regulated animals are

            housed compatibly in accordance with 9 C.F.R. §§ 3.133, 3.160(b), and 3.7;

         f. Clean and sanitize all enclosures and shelters as often as required by the AWA

            regulations and standards, in accordance with 9 C.F.R. §§ 3.1, 3.11, 3.50, 3.56,

            3.75, 3.84, 3.125, 3.131, 3.150, and 3.158, and ensure that all AWA-regulated

            animals are held in facilities or enclosures that are sanitary, have proper drainage,



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                 do not contain excess feces or potentially hazardous trash or debris, and do not

                 contain pests or wild animals that can spread disease, in accordance with 9 C.F.R.

                 §§ 3.84(a), 3.127(c); 3.131(a), (c) & (d), and 3.158(a)(1);

              g. Ensure that all AWA-regulated animals have access to clean, potable water at all

                 times and sufficient quantities of clean, uncontaminated, and palatable food each

                 day, and ensure that all containers used to hold food or water, including tubes

                 used to convey food into an enclosure, are cleaned and sanitized at least every 14

                 days, in accordance with 9 C.F.R. §§ 2.131(b)(1), 3.1(e), 3.75(e), 3.82(a), 3.84(b),

                 3.127(c), 3.129(a) & (b), 3.130, 3.150(e), 3.155(b), and 3.156.

        10.      Any copies of records or written notice sent to the United States pursuant to this

 agreement shall be sent via email to ac.cas.mailbox@usda.gov, devon.flanagan@usdoj.gov,

 kamela.caschette@usdoj.gov, and christian.carrara@usdoj.gov or mailed to:

        U.S. Department of Justice
        Wildlife and Marine Resources Section
        ATTN: Devon Flanagan, Chris Carrara, and Kamela Caschette
        4CON Mail Room 2.900
        150 M Street NE
        Washington, D.C. 20002

 The Parties may agree in writing to modify the notification procedures in this Paragraph.

        11.      In the event that either Party seeks to modify the terms of this Consent Decree or

 in the event of a dispute arising out of or relating to this Consent Decree, the Party seeking the

 modification or raising the dispute shall provide the other Party with written notice of the

 proposed modification or claim. The Parties agree that they will meet and confer at the earliest

 possible time in a good-faith effort to achieve a resolution before seeking relief from the Court.

 The Parties agree that they may meet and confer by email.

        12.      The Order entering this Consent Decree may be modified by written stipulation

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 between the Parties filed with and approved by the Court. If the Parties are unable to agree

 regarding a proposed modification to the Consent Decree, the Party seeking the modification

 may seek relief from the Court and bears the burden of demonstrating that it is entitled to the

 modification for the reasons set forth in Federal Rule of Civil Procedure 60(a) or (b). This

 Consent Decree may be modified pursuant to the procedures and standards set forth herein as

 long as the Consent Decree is in effect.

        13.     If the Parties are unable to resolve any disputes arising out of or relating to this

 Consent Decree themselves (other than disputes related to a proposed modification of the

 Consent Decree, addressed above), the Party raising the dispute may seek relief from the Court.

 The Party seeking relief bears the burden of demonstrating that its position complies with this

 Consent Decree and better furthers the objectives of this Consent Decree.

        14.     This Consent Decree in no way limits or affects any right of entry and inspection,

 or any right to obtain information, held by the United States pursuant to applicable federal laws,

 regulations, or licenses, nor does it limit or affect any duty or obligation of Miller to maintain

 documents, records, or other information imposed by applicable federal or state laws,

 regulations, permits, or Court orders.

        15.     This Consent Decree resolves the civil claims of the United States against Miller

 for the violations alleged in the Complaint, through the date of lodging this Consent Decree with

 the Court.

        16.     The United States reserves all legal and equitable remedies available to enforce

 the provisions of this Consent Decree. This Consent Decree shall not be construed to limit the

 rights of the United States to obtain penalties or injunctive relief under the AWA, or relevant

 implementing regulations and standards, or under other federal laws, regulations, or license



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 conditions, except as expressly provided herein.

         17.     The United States expressly reserves the right to seek any other relief it deems

 appropriate for a future violation of this Consent Decree or applicable law by Miller, including

 but not limited to an action for statutory penalties, additional injunctive relief, and/or contempt.

         18.     Miller releases and forever discharges the United States—including but not

 limited to the United States Department of Justice, USDA, and any other federal agency and

 their agents, contractors, and employees, acting in their individual or official capacities—from

 any and all claims, rights or causes of action, damages, expenses and costs, known or unknown,

 which Miller, or his agents, employees, or successors, have or may have against these

 government agencies and third parties and/or their agents, contractors, and employees arising

 from, related to, or as a result of, any actions with respect to this litigation.

         19.     In any subsequent administrative or judicial proceeding initiated by the United

 States for injunctive relief, civil penalties, or other appropriate relief relating to any violations of

 law by Miller, Miller shall not assert, and may not maintain, any defense or claim based upon the

 principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusion, claim-

 splitting, or other defenses based upon any contention that the claims raised by the United States

 in the subsequent proceeding were or should have been brought in the instant case, except with

 respect to claims that have been specifically resolved pursuant to Paragraph 15.

         20.     Nothing in this Consent Decree shall be construed or offered as evidence in any

 proceeding as an admission or concession of wrongdoing, liability, or any issue of fact or law

 concerning the claims settled under this Consent Decree or any similar claims brought in the

 future by any other party. Except as expressly provided in this Consent Decree, neither of the

 Parties waives or relinquishes any legal rights, claims, or defenses it may have. This Consent



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 Decree is executed for the purpose of settling the United States’ Complaint as to Miller, and

 nothing herein shall be construed as precedent having preclusive effect in any other context or as

 evidence of what constitutes compliance with the AWA or its implementing regulations or

 statutes.

         21.     This Consent Decree is not a license, or a modification of any license, under any

 federal, State, or local laws or regulations. Miller is responsible for achieving and maintaining

 complete compliance with all applicable federal, State, and local laws, regulations and licenses;

 and Miller’s compliance with this Consent Decree shall be no defense to any action commenced

 pursuant to any such laws, regulations, or permits, except as set forth herein. The United States

 does not, by its consent to the entry of this Consent Decree, warrant or aver in any manner that

 Miller’s compliance with the Consent Decree will result in compliance with the AWA or with

 any other provisions of federal, State, local laws, regulations, or licenses.

         22.     This Consent Decree does not limit or affect the rights of the United States against

 third parties, not party to this Consent Decree, nor does it limit the rights of third parties, not

 party to this Consent Decree, against Miller, except as otherwise provided by law.

         23.     The Parties shall bear their own costs of this action, including attorneys’ fees.

         24.     This Consent Decree shall be binding upon the Parties as of the date upon which

 this Consent Decree is lodged with the Court, unless otherwise provided expressly herein. In the

 event that the Court declines to enter the Consent Decree, then the requirement to perform duties

 required by this Consent Decree shall terminate.

         25.     Unless otherwise specified, the terms of this Consent Decree shall remain in

 effect for a period of five years from the date that the Consent Decree is entered by the Court.

         26.     This Consent Decree constitutes the entire agreement among the Parties regarding



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 the subject matter of the Consent Decree and supersedes all prior representations, agreements,

 and understandings, whether oral or written, concerning the subject matter of the Consent Decree

 herein.

           27.   The undersigned Parties and/or their representatives certify that they are fully

 authorized by the Party they represent to agree to the Court’s entry of the terms and conditions of

 this Consent Decree and do hereby agree to the terms herein.

           28.   Upon entry of this Consent Decree by the Court, all counts of Plaintiff’s

 Complaint shall be dismissed. Notwithstanding the dismissal of this action, the Court retains

 jurisdiction after dismissal to oversee compliance with the terms of this Consent Decree and to

 resolve any motions to modify or enforce such terms.



 IT IS SO ORDERED.


                                               ___________________________________
                                               United States District Judge

 Dated: January ____, 2025


 So stipulated and agreed:

 DATED: January 24, 2025


  TINA L. NOMMAY                                   __________________
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